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                                                                        Ben Meiselas <meiselas@geragos.com>



BIG3 LLC et al. v. Al-Rumaihi et al., No. 2:18-cv-03466-DMG-SK (C.D. Cal.) -
Notice of Ex Parte Application
Ciarlo, David A. <dciarlo@jonesday.com>                                       Thu, Aug 9, 2018 at 6:02 PM
To: Ben Meiselas <meiselas@geragos.com>, "geragos@geragos.com" <geragos@geragos.com>, Mark
Geragos <mark@geragos.com>
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  Counsel:



  I write pursuant to Local Rules 7-19 and 79-5.2, and pursuant to Judge Gee’s Initial Standing Order, to
  provide notice that Defendants intend to file: (1) an Ex Parte Application seeking to strike Plaintiffs’
  Response to the Court’s Order to Show Cause (“OSC Response”) (Dkt. No. 43) and the Declaration of
  Mark Geragos (“Declaration”) (Dkt. No. 43-1); and (2) an Application to Seal (i) an unredacted version of
  Defendants’ Ex Parte Application; (ii) the Protective Order signed by the parties in their pending JAMS
  Arbitration; and (iii) a proposed redacted version of Plaintiff’s Response and Declaration. Defendants are
  compelled to seek such relief because the OSC Response and Declaration were filed in violation of the
  binding Protective Order signed by the parties in the arbitration matter and in violation of Mr. Al-Rumaihi’s
  right to privacy.



  Plaintiffs’ filings contain confidential, non-public information regarding Mr. Al-Rumaihi’s personal affairs that
  should not be subject to public disclosure, as well as materials that are the subject of the parties’ signed
  Protective Order. Defendants have already contacted the Court, and the Court has agreed to remove the
  offending materials from the public docket pending the filing of Defendants’ Ex Parte Application and
  Application to Seal.



  The relief Defendants seek may be obviated if Plaintiffs agree, consistent with their obligations under the
  Protective Order, to withdraw their filing. Please advise whether Plaintiffs will agree to do so or will
  otherwise oppose Defendants’ anticipated filing.



  If Plaintiffs decline to withdraw their filing, they will have, pursuant to Judge Gee’s Initial Standing Order, 24
  hours to file any opposition to Defendants’ filing.



  Best,

  David



  David A. Ciarlo
  Associate
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